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EXHIBIT B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Moody-Theinert et al.

CERTIFICATE OF MAILING
- Case No.: __18CV11876 (GBD) (SN)

Islamic Republic of Iran

I hereby certify under the penalties of perjury that on the 27th day of March, 2019 _ I served:

Minister of Foreign Affairs, Ministry of Foreign Affairs of the Islamic Republic of Iran at Iman Khomeini

Avenue. ATTN: Mohammad Javad Zarif

LJ the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)(ii).

CJ the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C, § 1608(a)(3).

x the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRN), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a}(4).

LJ the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

__.2___ copy(ies) of the Summons, Complaint deemed filed on December 17, 2018, Civil Cover

Sheet, Notice of Suit prepared in accordance with 22 CF § 93.2 with a copy of 28 U.S.C. 1330, Affidavit

of Translator (Along with translations of the above documents)

by Fedex Tracking # 860665427443

Dated: New York, New York
March 27, 2019

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